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ROBERTA NAPOLITANO                                   The Honorable:                                      Alan S. Trust
350 FAIRFIELD AVENUE                                 Chapter 7
BRIDGEPORT, CT 06604                                 Location:
(203) 333-1177                                       Hearing Date:                                                 / /
         Chapter 7 Trustee                           Hearing Time:
                                                     Response Date:                                                / /



                                    UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF CONNECTICUT


            In re: SEIBERT, ADRIANA                                          Case No. 12-51120
                                                                             Chapter 7
                                                                         ,
                                 Debtor
              CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
       REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

              ROBERTA NAPOLITANO, chapter 7 trustee, submits this Final Account,
     Certification that the Estate has been Fully Administered and Application to be Discharged.

              1) All funds on hand have been distributed in accordance with the Trustee's Final Report
     and, if applicable, any order of the Court modifying the Final Report. The case is fully
     administered and all assets and funds which have come under the trustee's control in this case
     have been properly accounted for as provided by law. The trustee hereby requests to be
     discharged from further duties as a trustee.

             2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
     discharged without payment, and expenses of administration is provided below:


      Assets Abandoned: $47,479.29                          Assets Exempt: $46,883.58
      (without deducting any secured claims)
      Total Distribution to Claimants:$264,235.18         Claims Discharged
                                                          Without Payment: $0.00

      Total Expenses of Administration:$118,302.64


              3) Total gross receipts of $    632,061.63 (see Exhibit 1 ), minus funds paid to the debtor
      and third parties of $   249,523.81 (see Exhibit 2 ), yielded net receipts of $382,537.82
     from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                              $0.00         $139,435.03        $33,980.00         $33,980.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                           0.00          149,015.14        118,302.64         118,302.64

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                     0.00                0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                     0.00           62,943.40          62,943.40         62,943.40
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                         0.00          167,311.78        167,311.78         167,311.78

                                               $0.00         $518,705.35       $382,537.82        $382,537.82
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on June 14, 2012.
  The case was pending for 46 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 03/20/2016                 By: /s/ROBERTA NAPOLITANO
                                        Trustee, Bar No.: ct08378


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                     $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                 RECEIVED
     Deposit     (Earnest Money) on purchase of 179 Dick                                1110-000                        20,000.00

     Right to repurchase real property subject to sta                                   1110-000                       238,500.00

     Estate of Donald Seibert                                                           1129-000                       373,561.63


    TOTAL GROSS RECEIPTS                                                                                              $632,061.63

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                     $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                      PAID
 Linda Powers                                     Return of earnest money
                                                  deposit pursuant to Judge
                                                  Shiff's Order dated June 17,
                                                  2013 (Doc. Id. No. 113)
                                                  (Linda Powers was acting for
                                                  Michael Davidson at the
                                                  auction and issued the
                                                  earnest money check)         8500-002                                 20,000.00

 SEIBERT, ADRIANA                                 Dividend paid 100.00% on
                                                  $229,523.81; Claim# SURPLUS;
                                                  Filed: $229,523.81;
                                                  Reference:                   8200-003                                      0.00

 United States Bankruptcy Court                   Dividend paid 100.00% on
                                                  $229,523.81; Claim# SURPLUS;
                                                  Filed: $229,523.81;          8200-002                                229,523.81

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                              $249,523.81
    PARTIES




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EXHIBIT 3 SECURED CLAIMS


                                         UNIFORM     CLAIMS
   CLAIM                                            SCHEDULED          CLAIMS          CLAIMS        CLAIMS
    NO.           CLAIMANT                TRAN.     (from Form        ASSERTED        ALLOWED         PAID
                                          CODE          6D)
      3    Washington County Treasurer 4700-000        N/A                49,899.78          0.00           0.00

     10    Washington County Treasurer 4700-000        N/A                89,535.25     33,980.00      33,980.00


 TOTAL SECURED CLAIMS                                        $0.00      $139,435.03    $33,980.00     $33,980.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                            CLAIMS            CLAIMS          CLAIMS        CLAIMS
                                          TRAN.
                                                    SCHEDULED         ASSERTED        ALLOWED         PAID
                                          CODE
 ROBERTA NAPOLITANO                      2100-000      N/A                22,376.89     22,376.89      22,376.89

 ROBERTA NAPOLITANO                      2200-000      N/A                 1,481.33      1,481.33       1,481.33

 United States Bankruptcy Court          2700-000      N/A                   350.00        350.00        350.00

 Weinstein, Weiner, Ignal, Napolitano,   3110-000      N/A                 6,700.00      6,700.00       6,700.00
 & Shapiro,
 Blum Shapiro & Co., PC                  3410-000      N/A                 1,225.00      1,225.00       1,225.00

 David R. Maltz & Co., Inc.              3610-000      N/A                12,800.00     12,800.00      12,800.00

 David R. Maltz & Co., Inc.              3620-000      N/A                10,122.02     10,122.02      10,122.02

 United States Trustee                   2950-000      N/A                 1,625.00      1,625.00       1,625.00

 Washington County Treasurer             2820-000      N/A                89,535.25     58,822.75      58,822.75

 International Sureties, Ltd.            2300-000      N/A                   126.55        126.55        126.55

 Rabobank, N.A.                          2600-000      N/A                   205.51        205.51        205.51

 Rabobank, N.A.                          2600-000      N/A                   170.42        170.42        170.42

 Rabobank, N.A.                          2600-000      N/A                   187.78        187.78        187.78

 Rabobank, N.A.                          2600-000      N/A                   181.64        181.64        181.64

 Rabobank, N.A.                          2600-000      N/A                   157.93        157.93        157.93

 Rabobank, N.A.                          2600-000      N/A                   198.46        198.46        198.46

 Rabobank, N.A.                          2600-000      N/A                   174.82        174.82        174.82

 Rabobank, N.A.                          2600-000      N/A                   162.93        162.93        162.93

 Rabobank, N.A.                          2600-000      N/A                   185.96        185.96        185.96

 Rabobank, N.A.                          2600-000      N/A                   172.72        172.72        172.72

 Rabobank, N.A.                          2600-000      N/A                   166.32        166.32        166.32

 Rabobank, N.A.                          2600-000      N/A                   183.27        183.27        183.27


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 Rabobank, N.A.                        2600-000           N/A                      177.27         177.27        177.27

 Rabobank, N.A.                        2600-000           N/A                      165.59         165.59        165.59

 Rabobank, N.A.                        2600-000           N/A                      182.48         182.48        182.48

 TOTAL CHAPTER 7 ADMIN. FEES                              N/A                $149,015.14     $118,302.64    $118,302.64
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                             CLAIMS              CLAIMS             CLAIMS         CLAIMS
                                        TRAN.
                                                     SCHEDULED           ASSERTED           ALLOWED          PAID
                                        CODE
                                                   None

 TOTAL PRIOR CHAPTER ADMIN.                               N/A                       $0.00          $0.00          $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                       UNIFORM        CLAIMS              CLAIMS
   CLAIM                                             SCHEDULED           ASSERTED            CLAIMS         CLAIMS
    NO.           CLAIMANT              TRAN.         (from Form        (from Proofs of     ALLOWED          PAID
                                        CODE              6E)                Claim)
      5P   Internal Revenue Service    5800-000           N/A                  59,543.40       59,543.40      59,543.40

      7P   State of Connecticut        5800-000           N/A                    3,400.00       3,400.00       3,400.00

 TOTAL PRIORITY UNSECURED                                       $0.00         $62,943.40      $62,943.40     $62,943.40
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                       UNIFORM        CLAIMS              CLAIMS
   CLAIM                                             SCHEDULED           ASSERTED            CLAIMS         CLAIMS
    NO.           CLAIMANT              TRAN.         (from Form        (from Proofs of     ALLOWED          PAID
                                        CODE              6F)                Claim)
      1    American InfoSource LP as   7100-000           N/A                      421.82         421.82        421.82
           agent for
      1I   American InfoSource LP as   7990-000           N/A                        2.56           2.56           2.56
           agent for
      2    CT Light and Power          7100-000           N/A                       78.90          78.90          78.90

      2I   CT Light and Power          7990-000           N/A                        0.48           0.48           0.48

      4    Davis Family Enterprises,LLC 7100-000          N/A                    2,876.40       2,876.40       2,876.40

      4I   Davis Family Enterprises,LLC 7990-000          N/A                       17.46          17.46          17.46

      5U   Internal Revenue Service    7100-000           N/A                 159,972.11      159,972.11     159,972.11

      6    CT Light and Power          7100-000           N/A                      450.83         450.83        450.83

      6I   CT Light and Power          7990-000           N/A                        2.74           2.74           2.74

      7U   State of Connecticut        7100-000           N/A                    1,770.00       1,770.00       1,770.00



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      9    CT Lght and Power          7100-000     N/A                 352.34        352.34         352.34

      9I   CT Lght and Power          7990-000     N/A                   2.14           2.14           2.14

     5PI   Internal Revenue Service   7990-000     N/A                 361.47        361.47         361.47

     5UI   Internal Revenue Service   7990-000     N/A                 971.14        971.14         971.14

     7PI   State of Connecticut       7990-000     N/A                  20.64          20.64          20.64

     7UI   State of Connecticut       7990-000     N/A                  10.75          10.75          10.75

 TOTAL GENERAL UNSECURED                                  $0.00   $167,311.78   $167,311.78     $167,311.78
 CLAIMS




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                                                                                                                                                                                       Exhibit 8


                                                                                     Form 1                                                                                           Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 12-51120                                                                         Trustee:         (270110)         ROBERTA NAPOLITANO
Case Name:        SEIBERT, ADRIANA                                                            Filed (f) or Converted (c): 06/14/12 (f)
                                                                                              §341(a) Meeting Date:             07/19/12
Period Ending: 03/20/16                                                                       Claims Bar Date:                  11/06/12

                                1                                            2                             3                          4                     5                     6

                    Asset Description                                   Petition/              Estimated Net Value               Property             Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                     Unscheduled         (Value Determined By Trustee,         Abandoned             Received by        Administered (FA)/
                                                                         Values              Less Liens, Exemptions,            OA=§554(a)             the Estate         Gross Value of
Ref. #                                                                                           and Other Costs)                                                        Remaining Assets

 1       Bank of New York Mellon                                                   6.83                           0.00                                           0.00                        FA

 2       Bank of New York Mellon                                                 397.46                           0.00                                           0.00                        FA

 3       Furniture and furnishings                                           3,500.00                             0.00              OA                           0.00                        FA

 4       Wearing apparel                                                         700.00                           0.00                                           0.00                        FA

 5       Diamond engagement ring, wedding ring, Rolex wat                   40,000.00                          595.71               OA                           0.00                        FA

 6       Right to repurchase real property subject to sta                  549,000.00                      432,775.23                                     238,500.00                         FA

 7       Estate of Donald Seibert                                        1,952,511.00                    1,952,511.00                                     373,561.63                         FA

 8       2004 Ford Excursion                                                 2,875.00                             0.00                                           0.00                        FA
          Parked illegally and towed to Lone Star Repair; she
         took her belongings out

 8       Assets      Totals (Excluding unknown values)                  $2,548,990.29                  $2,385,881.94                                     $612,061.63                    $0.00



     Major Activities Affecting Case Closing:

                  11/4/12 The Debtor, for whom an administrator has been appointed, owned a farmhouse in New York which I am going to sell. 12/4/12 The Debtor (individually)
                  objected to my motion to sell on the grounds that her conservatorship may be lifted, that she might be able to probate her late husband's will, obtain ready cash from
                  the sale of either her residence or her jewelry, and renovate and sell the New York property. The County will move for relief from stay. It holds auctions only once a
                  year, in mid-June. 5/7/13 I emailed Attorney Burke, telling him the Court still hadn't ruled on the motions to approve the sale or to convert. 4/30/14 Mr. Davidson is
                  still interested in purchasing the New York property. I prepared a motion to sell and I am waiting to hear from the Town on the proposed orders. I received a call from
                  a potential bidder on the Greenwich property which was apparently sold while the case was in a Chapter 11. I will appear at the hearing on confirmation of the sale on
                  May 5, 2014 at 10 a.m. The Greenwich property was in the name of the debtor's husband, Donald Seibert. His will provides that the proceeds of the sale of the
                  property shall be paid into a trust. The debtor is the trustee, and she and her estranged daughter are its beneficiaries. The new fiduciary of Donald Seibert's estate is
                  Katrina Camera. I also spoke to Paula Charette, of the IRS. She confirmed the numbers on the IRS POC. They are based on 1099Bs, issued for the sale of stocks
                  and bonds in 2008 and 2009 in excess of $700,000. 6/18/14 I prepared an adversary proceeding seeking to remove the debtor as trustee. Ms. Fassiolitis is the
                  guardian ad litem, not the guardian for Elizabeth Seibert, who is of age. I must serve Cathy Kohut, her attorney. I contacted Attorney Kohut to confirm that she will
                  accept service. 6/23/14 Ms. Kohut will accept service. Washington County is now due $92,802.75. 7/7/14 Tcw/ Ms. Telford: the basis for the debtor's purchase of the
                  property was $475,000, based on a tax stamp of $1900. Taxes are $4.00 per thousand. The County confirmed. 9/8/14 Tcw/ Adriana Seibert: I told her that both
                  properties were sold. She wants legal representation and a stay. She couldn't hire an attorney because it was summertime. I told her that she needs to go to court to
                  ask for money and to disagree with any proposals I make to pay creditors. 10/17/14 The Bankruptcy Court agreed that jurisdiction over the division of the trust
                  proceeds should be in the Connecticut Probate Court. We still haven't been assigned a date on the dispute over the distribution from the sale of the Greenwich
                  property which should be paid into a trust. Cathy Kohut, who represents the debtor's daughter's interest, believes that nothing will be scheduled until after November
                  15 because of the election. 10/27/14 Tcw/ Patricia Ewing: friend of debtor. I told her that it is unlikely that she will receive anything through the bankruptcy. I told her
                  she can't receive anything now. She can't take the debtor in. 4/21/15 Cathy Kohut, who represents the debtor's daughter, expects the orders in the probate court to
                  enter within a week. 5/6/15 The Probate Court ordered the division of the funds the executrix of Donald Seibert's estate is currently holding into two equal parts after
                  payment of the costs of administration. One half will be paid to a trust established for the benefit of Adriana Seibert and the other for the benefit of their daughter,


                                                                                                                                                    Printed: 03/20/2016 01:41 PM        V.13.25
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                                                                                                                                                                                   Exhibit 8


                                                                                 Form 1                                                                                            Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 12-51120                                                                      Trustee:         (270110)        ROBERTA NAPOLITANO
Case Name:       SEIBERT, ADRIANA                                                          Filed (f) or Converted (c): 06/14/12 (f)
                                                                                           §341(a) Meeting Date:            07/19/12
Period Ending: 03/20/16                                                                    Claims Bar Date:                 11/06/12

                              1                                           2                            3                          4                    5                       6

                    Asset Description                                Petition/             Estimated Net Value               Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,         Abandoned            Received by        Administered (FA)/
                                                                      Values             Less Liens, Exemptions,            OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                                                       Remaining Assets

                Elizabeth Seibert. The executrix is currently holding about $925,000.00. 8/7/15 The executrix filed her final account, proposing to pay the trust the sum of
                $373,561.63 for the benefit of the estate. The Probate Court must approve the final account and the substitution of a third party for the debtor as trustee.

     Initial Projected Date Of Final Report (TFR):      June 30, 2013                        Current Projected Date Of Final Report (TFR):           October 28, 2015 (Actual)




                                                                                                                                                Printed: 03/20/2016 01:41 PM        V.13.25
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                                                                                                                                                                           Exhibit 9


                                                                             Form 2                                                                                        Page: 1

                                                Cash Receipts And Disbursements Record
Case Number:        12-51120                                                                   Trustee:            ROBERTA NAPOLITANO (270110)
Case Name:          SEIBERT, ADRIANA                                                           Bank Name:          Rabobank, N.A.
                                                                                               Account:            ******9866 - Checking Account
Taxpayer ID #: **-***0089                                                                      Blanket Bond:       $20,087,960.00 (per case limit)
Period Ending: 03/20/16                                                                        Separate Bond: N/A

   1            2                         3                                   4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From           Description of Transaction                  T-Code              $                  $       Account Balance
05/03/13                 First Republic Bank          Deposit (Earnest Money) on purchase of 179          1110-000            20,000.00                                20,000.00
                                                      Dickensen Road, Cambridge, NY; I will hold it
                                                      pending adjudication of motion to convert; I
                                                      spoke to Erin Hogan about this; check is in
                                                      safe
05/31/13                 Rabobank, N.A.               Bank and Technology Services Fee                    2600-000                                       23.97         19,976.03
06/07/13                 Rabobank, N.A.               Bank and Technology Services Fee                    2600-000                                       -23.97        20,000.00
                                                      Adjustment
06/20/13      101        Linda Powers                 Return of earnest money deposit pursuant to         8500-002                                   20,000.00                0.00
                                                      Judge Shiff's Order dated June 17, 2013 (Doc.
                                                      Id. No. 113) (Linda Powers was acting for
                                                      Michael Davidson at the auction and issued the
                                                      earnest money check)

                                                                            ACCOUNT TOTALS                                    20,000.00              20,000.00               $0.00
                                                                                    Less: Bank Transfers                            0.00                  0.00
                                                                            Subtotal                                          20,000.00              20,000.00
                                                                                    Less: Payments to Debtors                                             0.00
                                                                            NET Receipts / Disbursements                     $20,000.00            $20,000.00




{} Asset reference(s)                                                                                                                   Printed: 03/20/2016 01:41 PM        V.13.25
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                                                                                                                                                                                   Exhibit 9


                                                                                      Form 2                                                                                       Page: 2

                                                         Cash Receipts And Disbursements Record
Case Number:         12-51120                                                                          Trustee:            ROBERTA NAPOLITANO (270110)
Case Name:           SEIBERT, ADRIANA                                                                  Bank Name:          Rabobank, N.A.
                                                                                                       Account:            ******9867 - Earnest Money Checking Ac
Taxpayer ID #: **-***0089                                                                              Blanket Bond:       $20,087,960.00 (per case limit)
Period Ending: 03/20/16                                                                                Separate Bond: N/A

   1            2                            3                                          4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                 T-Code              $                  $       Account Balance
04/21/14       {6}        Ledyard National Bank fbo Michael    Earnest money deposit                              1110-000            23,850.00                                23,850.00
                          Davidson
06/26/14                  Ledyard National Bank fbo            Proceeds of sale of 179 Dickensen Road,                               121,847.25                            145,697.25
                          Execusuite, LLC, Assignee of Micha   Cambridge, New York
               {6}                                                Remaining sale                 214,650.00       1110-000                                                 145,697.25
                                                                  proceeds after deposit
                             Washington County Treasurer          Payoff of prepetition tax      -33,980.00       4700-000                                                 145,697.25
                                                                  lien by purchaser
                             Washington County Treasurer          Payoff of postpetition tax     -58,822.75       2820-000                                                 145,697.25
                                                                  lien by purchaser
07/15/14      101         David R. Maltz & Co., Inc.           Payment of auctioneer fees and expenses as                                                    22,922.02     122,775.23
                                                               authorized by Judge Shiff's Order dated July
                                                               15, 2014 (# 268)
                                                                  Auctioneer Commission           12,800.00       3610-000                                                 122,775.23
                                                                  Auctioneer Expenses             10,122.02       3620-000                                                 122,775.23
07/31/14                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       205.51    122,569.72
08/29/14                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       170.42    122,399.30
09/30/14                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       187.78    122,211.52
10/31/14                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       181.64    122,029.88
11/07/14      102         International Sureties, Ltd.         BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                       126.55    121,903.33
                                                               BALANCE AS OF 11/07/2014 FOR CASE
                                                               #12-51120
11/28/14                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       157.93    121,745.40
12/31/14                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       198.46    121,546.94
01/30/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       174.82    121,372.12
02/27/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       162.93    121,209.19
03/31/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       185.96    121,023.23
04/01/15      103         Blum Shapiro & Co., PC               Payment of accountant's fees as authorized by      3410-000                                    1,225.00     119,798.23
                                                               Judge Shiff's Order dated 3/31/15 (# 297)
04/30/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       172.72    119,625.51
05/29/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       166.32    119,459.19
06/30/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       183.27    119,275.92
07/31/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       177.27    119,098.65
08/31/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       165.59    118,933.06
09/30/15                  Rabobank, N.A.                       Bank and Technology Services Fee                   2600-000                                       182.48    118,750.58
10/23/15       {7}        People's United Bank fbo Probate     Proceeds of bankruptcy estate's interest in        1129-000           373,561.63                            492,312.21
                          Estate of Donald Seibert             estate of debtor's deceased spouse
12/03/15      104         International Sureties, Ltd.         BOND PREMIUM PAYMENT ON LEDGER                     2300-003                                       132.59    492,179.62

                                                                                                        Subtotals :                 $519,258.88          $27,079.26
{} Asset reference(s)                                                                                                                           Printed: 03/20/2016 01:41 PM        V.13.25
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                                                        Cash Receipts And Disbursements Record
Case Number:        12-51120                                                                        Trustee:            ROBERTA NAPOLITANO (270110)
Case Name:          SEIBERT, ADRIANA                                                                Bank Name:          Rabobank, N.A.
                                                                                                    Account:            ******9867 - Earnest Money Checking Ac
Taxpayer ID #: **-***0089                                                                           Blanket Bond:       $20,087,960.00 (per case limit)
Period Ending: 03/20/16                                                                             Separate Bond: N/A

   1            2                           3                                           4                                           5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #            Paid To / Received From               Description of Transaction                T-Code              $                   $       Account Balance
                                                             BALANCE AS OF 12/03/2015 FOR CASE
                                                             #12-51120, Bond Payment
                                                             Voided on 12/04/15
12/04/15      104        International Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                    2300-003                                       -132.59   492,312.21
                                                             BALANCE AS OF 12/03/2015 FOR CASE
                                                             #12-51120, Bond Payment
                                                             Voided: check issued on 12/03/15
12/16/15      105        United States Bankruptcy Court      Dividend paid 100.00% on $350.00, Clerk of        2700-000                                       350.00    491,962.21
                                                             the Court Costs (includes adversary and other
                                                             filing fees); Reference:
12/16/15      106        Weinstein, Weiner, Ignal,           Dividend paid 100.00% on $6,700.00, Attorney      3110-000                                    6,700.00     485,262.21
                         Napolitano, & Shapiro,              for Trustee Fees (Trustee Firm); Reference:
12/16/15      107        United States Trustee               Dividend paid 100.00% on $1,625.00, U.S.          2950-000                                    1,625.00     483,637.21
                                                             Trustee Quarterly Fees; Reference:
12/16/15      108        Internal Revenue Service            Dividend paid 100.00% on $59,543.40; Claim#       5800-000                                   59,543.40     424,093.81
                                                             5P; Filed: $59,543.40; Reference:
12/16/15      109        State of Connecticut                Dividend paid 100.00% on $3,400.00; Claim#        5800-000                                    3,400.00     420,693.81
                                                             7P; Filed: $3,400.00; Reference:
12/16/15      110        American InfoSource LP as agent     Dividend paid 100.00% on $421.82; Claim# 1;       7100-000                                       421.82    420,271.99
                         for                                 Filed: $421.82; Reference:
12/16/15      111        CT Light and Power                  Dividend paid 100.00% on $78.90; Claim# 2;        7100-000                                        78.90    420,193.09
                                                             Filed: $78.90; Reference:
12/16/15      112        Davis Family Enterprises,LLC        Dividend paid 100.00% on $2,876.40; Claim#        7100-000                                    2,876.40     417,316.69
                                                             4; Filed: $2,876.40; Reference:
12/16/15      113        Internal Revenue Service            Dividend paid 100.00% on $159,972.11;             7100-000                               159,972.11        257,344.58
                                                             Claim# 5U; Filed: $159,972.11; Reference:
12/16/15      114        CT Light and Power                  Dividend paid 100.00% on $450.83; Claim# 6;       7100-000                                       450.83    256,893.75
                                                             Filed: $450.83; Reference:
12/16/15      115        State of Connecticut                Dividend paid 100.00% on $1,770.00; Claim#        7100-000                                    1,770.00     255,123.75
                                                             7U; Filed: $1,770.00; Reference:
12/16/15      116        CT Lght and Power                   Dividend paid 100.00% on $352.34; Claim# 9;       7100-000                                       352.34    254,771.41
                                                             Filed: $352.34; Reference:
12/16/15      117        American InfoSource LP as agent     Dividend paid 100.00% on $2.56; Claim# 1I;        7990-000                                         2.56    254,768.85
                         for                                 Filed: $2.56; Reference:
12/16/15      118        CT Light and Power                  Dividend paid 100.00% on $0.48; Claim# 2I;        7990-000                                         0.48    254,768.37
                                                             Filed: $0.48; Reference:
12/16/15      119        Davis Family Enterprises,LLC        Dividend paid 100.00% on $17.46; Claim# 4I;       7990-000                                        17.46    254,750.91
                                                             Filed: $17.46; Reference:
12/16/15      120        CT Light and Power                  Dividend paid 100.00% on $2.74; Claim# 6I;        7990-000                                         2.74    254,748.17

                                                                                                     Subtotals :                         $0.00      $237,431.45
{} Asset reference(s)                                                                                                                        Printed: 03/20/2016 01:41 PM        V.13.25
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                                                    Cash Receipts And Disbursements Record
Case Number:        12-51120                                                                      Trustee:            ROBERTA NAPOLITANO (270110)
Case Name:          SEIBERT, ADRIANA                                                              Bank Name:          Rabobank, N.A.
                                                                                                  Account:            ******9867 - Earnest Money Checking Ac
Taxpayer ID #: **-***0089                                                                         Blanket Bond:       $20,087,960.00 (per case limit)
Period Ending: 03/20/16                                                                           Separate Bond: N/A

   1            2                         3                                         4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                Description of Transaction                T-Code              $                  $       Account Balance
                                                          Filed: $2.74; Reference:
12/16/15      121        CT Lght and Power                Dividend paid 100.00% on $2.14; Claim# 9I;         7990-000                                         2.14    254,746.03
                                                          Filed: $2.14; Reference:
12/16/15      122        Internal Revenue Service         Dividend paid 100.00% on $361.47; Claim#           7990-000                                       361.47    254,384.56
                                                          5PI; Filed: $361.47; Reference:
12/16/15      123        Internal Revenue Service         Dividend paid 100.00% on $971.14; Claim#           7990-000                                       971.14    253,413.42
                                                          5UI; Filed: $971.14; Reference:
12/16/15      124        State of Connecticut             Dividend paid 100.00% on $20.64; Claim# 7PI; 7990-000                                              20.64    253,392.78
                                                          Filed: $20.64; Reference:
12/16/15      125        State of Connecticut             Dividend paid 100.00% on $10.75; Claim# 7UI; 7990-000                                              10.75    253,382.03
                                                          Filed: $10.75; Reference:
12/16/15      126        SEIBERT, ADRIANA                 Dividend paid 100.00% on $229,523.81;              8200-003                               229,523.81            23,858.22
                                                          Claim# SURPLUS; Filed: $229,523.81;
                                                          Reference:
                                                          Voided on 01/19/16
12/16/15      127        ROBERTA NAPOLITANO               COMBINED CHECK FOR TRUSTEE                                                                    23,858.22                0.00
                                                          COMPENSATION, EXPENSES AND
                                                          INTEREST
                                                              Dividend paid 100.00%          22,376.89       2100-000                                                            0.00
                                                              on $22,376.89; Claim# ;
                                                              Filed: $22,376.89
                                                              Dividend paid 100.00%           1,481.33       2200-000                                                            0.00
                                                              on $1,481.33; Claim# ;
                                                              Filed: $1,481.33
01/19/16      126        SEIBERT, ADRIANA                 Dividend paid 100.00% on $229,523.81;              8200-003                              -229,523.81        229,523.81
                                                          Claim# SURPLUS; Filed: $229,523.81;
                                                          Reference:
                                                          Voided: check issued on 12/16/15
01/19/16      128        United States Bankruptcy Court   Dividend paid 100.00% on $229,523.81;              8200-002                               229,523.81                   0.00
                                                          Claim# SURPLUS; Filed: $229,523.81;

                                                                                  ACCOUNT TOTALS                                519,258.88          519,258.88                  $0.00
                                                                                        Less: Bank Transfers                           0.00                   0.00
                                                                                  Subtotal                                      519,258.88          519,258.88
                                                                                        Less: Payments to Debtors                                   229,523.81
                                                                                  NET Receipts / Disbursements                 $519,258.88        $289,735.07




{} Asset reference(s)                                                                                                                      Printed: 03/20/2016 01:41 PM        V.13.25
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                                               Cash Receipts And Disbursements Record
Case Number:        12-51120                                                                Trustee:            ROBERTA NAPOLITANO (270110)
Case Name:          SEIBERT, ADRIANA                                                        Bank Name:          Rabobank, N.A.
                                                                                            Account:            ******9867 - Earnest Money Checking Ac
Taxpayer ID #: **-***0089                                                                   Blanket Bond:       $20,087,960.00 (per case limit)
Period Ending: 03/20/16                                                                     Separate Bond: N/A

   1            2                       3                                   4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                   Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction               T-Code              $                  $       Account Balance

                             Net Receipts :      539,258.88
                   Plus Gross Adjustments :       92,802.75                                                                   Net             Net                   Account
                 Less Payments to Debtor :       229,523.81               TOTAL - ALL ACCOUNTS                              Receipts     Disbursements              Balances
        Less Other Noncompensable Items :         20,000.00
                                              ————————                    Checking # ******9866                            20,000.00              20,000.00                0.00
                               Net Estate :     $382,537.82               Checking # ******9867                           519,258.88          289,735.07                   0.00

                                                                                                                         $539,258.88        $309,735.07                   $0.00




{} Asset reference(s)                                                                                                                Printed: 03/20/2016 01:41 PM        V.13.25
